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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 WILLIAM SCHLAGNAUFER,

                            Plaintiff,

                       v.                                        No. 2:21-cv-2366

 THOMAS JEFFERSON UNIVERSITY,

                            Defendant.

                              CONFIDENTIALITY AGREEMENT

        WHEREAS, discovery in this case, including but not limited to, interrogatories, requests
for production of documents or things, requests for admission, or depositions, may require
disclosure of confidential compensation formulae, plans, data or information; competitively
sensitive or proprietary business information and data; business plans, models, strategies,
information and data; information about third parties who are not parties to this action; otherwise
private, confidential and/or trade secret information, medical HIPAA protected sensitive
information (collectively “Proposed Confidential Materials”), the disclosure of which may cause
injury or embarrassment and which should otherwise remain confidential and the private
property and information of the respective party;

       IT IS HEREBY AGREED by and between the undersigned counsel for the Parties that:

       A.      Confidential Information.

                1.     All Parties hereby agree that any documents and/or information produced
in this proceeding and designated “Confidential” or “Attorneys’ Eyes Only — Confidential” will
be treated as confidential in accordance with the terms of this Agreement.

                 2.     After making a bona fide determination that materials, information or
testimony falls within the scope of materials defined above as Proposed Confidential Materials, a
Party may designate material as “Confidential” by placing on or affixing to any written or
recorded information or document the notation “Confidential” in such manner as will not
interfere with the legibility thereof. A Party also may designate information disclosed at the trial
or deposition of any witness as “Confidential” by (a) so stating on the record following the
particular testimony the Party wishes to so designate, or (b) notifying all Parties, in writing,
within twenty business days of such trial or deposition date or ten business days of receipt of the
trial or deposition transcript (if ordered contemporaneously with the trial or deposition),
whichever is later, of the specific information that should be treated as “Confidential.”

                 3.      Information may be designated as “Attorneys’ Eyes Only — Confidential”
if it constitutes or contains information that meets the requirements for designation as
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“Confidential” as set forth herein and is extremely sensitive in nature, including, for example,
confidential business plans and strategic, marketing and/or competitive information relating to
the producing party or the producing party’s products or services or planned products or services.

                4.       After making a bona fide determination that materials, information or
testimony falls within the scope of materials defined above in A.4., a Party may designate
material as “Attorneys’ Eyes Only — Confidential” by placing on or affixing to any written or
recorded information or document the notation “Attorneys’ Eyes Only — Confidential” in such
manner as will not interfere with the legibility thereof. A Party also may designate information
disclosed at the trial or deposition of any witness as “Attorneys’ Eyes Only — Confidential” by
(a) so stating on the record following the particular testimony the Party wishes to so designate, or
(b) notifying all Parties, in writing, within twenty business days of such trial or deposition date or
ten business days of receipt of the trial or deposition transcript (if ordered contemporaneously
with the trial or deposition), whichever is later, of the specific information that should be treated
as “Attorneys’ Eyes Only — Confidential.”

       B.      Use of Confidential Information

             1.       All “Confidential” and “Attorneys’ Eyes Only — Confidential”
documents, and the information contained in such documents, shall be:

                    (a)     maintained in confidence and shall not be made available, shown
or otherwise communicated in any way to anyone except as specified herein;

                      (b)     used solely for the purpose of this lawsuit, including any appeals or
settlement negotiations, and for no other purpose; and

                       (c)   disclosed only as necessary in this lawsuit by the Parties and their
counsel, and only in accordance with the terms of this Confidentiality Agreement.

               2.      Disclosure:

                       (a)    All “Confidential” documents and testimony may be disclosed by
counsel for the Party who has received them subject to the provisions of this Confidentiality
Agreement, and only to the following persons:

                                (i)     The attorneys of record in this action and their associated
attorneys, legal assistants, and staff members working on the action to the extent reasonably
necessary to render professional services in the action;

                              (ii)   The named Parties to this litigation, including the corporate
parties’ employees, agents, and representatives who are participating and/or assisting in the
defense of this litigation;

                              (iii) Independent consultants and/or experts retained by the
Parties or counsel to work on the action; provided, however, that before any such consultant or


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expert is shown or receives any confidential documents or information, s/he must read a copy of
this Confidentiality Agreement and agree in writing to abide by the same by signing a document
in the form of Exhibit A attached hereto;

                              (iv)    Witnesses interviewed by a Party’s representatives or
counsel, or persons deposed in this lawsuit, with a need to review confidential documents or
information, provided, however, that before such persons are shown or receive any confidential
documents or information, they must read a copy of this Confidentiality Agreement and agree in
writing to abide by the same by signing a document in the form of Exhibit A attached hereto;

                             (v)      Court reporters and stenographers engaged for depositions
or other proceedings necessary to the conduct of the action;

                               (vi)    Such persons as the undersigned counsel shall mutually
consent to in writing or on the record prior to the proposed disclosure; and

                               (vii)   The Court and Court personnel.

                      (b)     All “Attorneys’ Eyes Only — Confidential” documents and
testimony may be disclosed by counsel for the Party who has received them subject to the
provisions of this Confidentiality Agreement, and only to the following persons:

                                (i)     The attorneys of record in this action and their associated
attorneys, legal assistants, and staff members working on the action to the extent reasonably
necessary to render professional services in the action;

                              (ii)     Independent consultants and/or experts retained by the
Parties or counsel to work on the action whose review of the information is, in good faith,
reasonably necessary to assist in the prosecution or defense or trial of this action; provided,
however, that before any such consultant or expert is shown or receives any “Attorneys’ Eyes
Only — Confidential” documents or information, s/he must read a copy of this Confidentiality
Agreement and agree in writing to abide by the same by signing a document in the form of
Exhibit A attached hereto;

                              (iii) Third party witnesses or deponents who were previously a
recipient or author of information designated as “Attorneys’ Eyes Only — Confidential” and
their counsel during the course of providing testimony in or for this action, provided, however,
that before such persons are shown or receive any “Attorneys’ Eyes Only — Confidential”
documents or information, s/he must read a copy of this Confidentiality Agreement and agree in
writing to abide by the same by signing a document in the form of Exhibit A attached hereto;

                             (iv)     Court reporters and stenographers engaged for depositions
or other proceedings necessary to the conduct of the action;

                               (v)     Such persons as the undersigned counsel shall mutually
consent to in writing or on the record prior to the proposed disclosure; and


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                              (vi)    The Court and Court personnel.

             3.      Either Party may use information that was, is, or becomes public
knowledge without violating this Confidentiality Agreement.

                4.      Any motion, brief, or other filing that contains, refers to, attaches, or
incorporates materials, information, or testimony designated as “Confidential” or “Attorneys’
Eyes Only — Confidential” shall be filed with the Court under seal. The party making such a
filing need not separately move the Court for permission to make a filing under seal, but it shall
place the filing in a sealed envelope with a cover sheet substantially in the form of Exhibit B
hereto, except as otherwise required by the Court and/or by Local Rule. In lieu of filing any
confidential documents under seal, to the extent feasible the Parties will attempt to agree to
redact documents submitted in any motion, brief, or other filings that contain confidential
information.

                5.      Any “Confidential” or “Attorneys’ Eyes Only — Confidential” material
that inadvertently is produced by a Party without written notice or identification as
“Confidential” or “Attorneys’ Eyes Only — Confidential” may be so designated by that Party
retroactively, provided that the Party shall not claim that there has been a violation of this
Confidentiality Agreement if such material has been disclosed or made available in a manner
other than as provided in this Confidentiality Agreement prior to such designation.

                6.       The parties agree that should this case proceed to trial, the parties will
jointly move the Court for an Order directing that any “Confidential” and/or “Attorneys’ Eyes
Only — Confidential” material that is used at trial for any purpose (e.g., as an exhibit or for
purposes of impeachment) maintain its “Confidential” or “Attorneys’ Eyes Only —
Confidential” designation. The parties further agree to request that the Court Order that any such
“Confidential” and/or “Attorneys’ Eyes Only — Confidential” material used at trial only be
disclosed in a manner consistent with the terms of this Confidentiality Agreement and that all
portions of the trial transcript relating to “Confidential” or “Attorneys’ Eyes Only —
Confidential” material shall be sealed.

       C.      Return of Confidential Documents, Transcripts, etc.

                1.      Within twenty (20) business days after the conclusion of this action, by
settlement or adjudication, including any appellate proceedings, all “Confidential” or “Attorneys’
Eyes Only — Confidential” documents or information (and all copies, transcriptions, or
reproductions thereof, in any form whatsoever) produced or provided by the Parties shall be
returned to their respective counsel. In the alternative, all confidential documents or information
(and all copies, transcriptions, or reproductions thereof, in any form whatsoever) must be
destroyed; provided, however, that counsel may retain complete copies of all transcripts, motions
and pleading including any exhibits attached thereto for archival purposes, subject to the
provisions of this Confidentiality Agreement. Upon request, each Party shall certify in writing to
the other Party that all confidential materials have been returned to the producing or providing
Party, or destroyed in accordance with this provision.




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       D.      Enforcement.

              1.     Any disputes regarding this Confidentiality Agreement shall be resolved
by the Court. This Confidentiality Agreement shall be governed by Pennsylvania law.

       E.      Disputes Regarding Confidentiality of Documents.

               1.       If a Party believes that any material which is produced does not fall within
the scope of materials defined above as Proposed Confidential Materials, that Party shall advise
the other Party stating the reasons therefore and a reasonable good faith effort to resolve the issue
shall be made. If the disagreement cannot be resolved in this fashion, the challenging Party may
apply to the Court for an appropriate order, and each Party shall cooperate in seeking a prompt
hearing and/or resolution. Any contested material for which such a Motion is not timely made or
as to which requested relief is not granted shall be deemed “Confidential” or “Attorneys’ Eyes
Only — Confidential,” as the case may be.

       F.      Confidentiality Agreement Not a Waiver.

                1.      This Confidentiality Agreement shall not be construed as (a) requiring the
production of privileged materials, testimony, or information, or (b) a waiver by either Party of
objections to the production of documents, or of the right to object to admission into evidence of
any documents or information on any basis other than confidentiality, or as vesting any Party
with additional rights to make objections beyond the rights provided in the federal and local rules
of civil procedure or evidence.

       G.      Miscellaneous.

               1.      No amendment or modification of this Confidentiality Agreement shall be
effective unless the same shall be in writing and signed by the Parties hereto.

                2.      Nothing herein restricts the right of either Party hereto to apply to the
Court for a further protective order relating to any documents or information provided pursuant
to this Confidentiality Agreement.

               3.     The provisions of this Confidentiality Agreement shall apply to any and
all documents produced and designated “Confidential” or “Attorneys’ Eyes Only —
Confidential” in accordance herewith, whether produced before or after the execution of this
Confidentiality Agreement.

               4.      This Confidentiality Agreement may be executed in two or more
counterparts, each of which when so executed shall be deemed to be an original and all of which
taken together shall constitute one and the same Confidentiality Agreement.

                5.      The provisions of this Confidentiality Agreement shall survive and remain
in full force and effect after the conclusion of this action, whether by settlement or adjudication,
including any appellate proceedings, and the Court shall retain jurisdiction to resolve any dispute
concerning the use of information disclosed hereunder.


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                 6.    The Court retains the right to allow disclosure of any subject covered by
this Confidentiality Agreement or to modify this Confidentiality Agreement at any time in the
interest of justice.

       KARP, KARPF & CERUTTI, P.C.                        FISHERBROYLES, LLP

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                                                          412-746-1720

                                                          Counsel to Defendant

Dated: March 24, 2022                               Dated: March 24, 2022



                                                    APPROVED and SO ORDERED this

                                                    28th day of March, 2022


                                                    /s/ Harvey Bartle III
                                                    HON. HARVEY BARTLE, III




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                                         EXHIBIT A

                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 WILLIAM SCHLAGNAUFER,

                           Plaintiff,

                      v.                                      No. 2:21-cv-2366

 THOMAS JEFFERSON UNIVERSITY,

                           Defendant.

                   AGREEMENT CONCERNING CONFIDENTIALITY

       By signing this document, I hereby certify that I have read the Confidentiality Agreement
dated March 24, 2022, in the above-captioned action, and I agree to abide by the terms of the
Confidentiality Agreement and maintain in confidence any confidential document or information
provided or shown to me in accordance with the terms thereof.




                                                           Signature




                                                           Print Name




                                                           Date
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                                   EXHIBIT B

              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WILLIAM SCHLAGNAUFER,

                   Plaintiff,

              v.                                      No. 2:21-cv-2366

THOMAS JEFFERSON UNIVERSITY,

                   Defendant.

                                [NAME OF FILING]

                     FILED UNDER SEAL PURSUANT TO

                      CONFIDENTIALITY AGREEMENT




                                          Attorney name

                                          Firm name

                                          Address

                                          Telephone



                                          Counsel for _____________
